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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eighteen Homes LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  116 Nostrand Ave
                                  Brooklyn, NY 11205
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  263 18th Street Brooklyn, NY 11215
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Eighteen Homes LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     73 Empire Development LLC                                       Relationship            Affiliate
                                                             Southern District of
                                                  District   New York                      When       2/21/19                Case number, if known   19-22285




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                                                                           Pg 3 of 13
Debtor   Eighteen Homes LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Eighteen Homes LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 20, 2019
                                                  MM / DD / YYYY

                                 /s/ David Goldwasser, authorized signatory of                            David Goldwasser, authorized signatory of
                             X   GC Realty Advisors                                                       GC Realty Advisors
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date May 20, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Eighteen Homes LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Abrams Fensterman                                                                                                                                                      $150,400.00
 LLP
 1 Metrotech Center
 Suite 1701
 Brooklyn, NY 11201
 B&S Enterprise                                                                                                                                                             $1,194.08
 715 Myrtle Ave
 Brooklyn, NY 11205
 Best Super cleaning                                                                                                                                                          $375.00
 5222 New Utrecht
 Avenu
 Brooklyn, NY 11219
 Con Edison                                                                                                                                                                     $44.22
 Jaf Station
 POB 1702
 New York, NY 10116
 CS Construction                                                                        Unliquidated                                                                      $36,000.00
 LLC
 116 Norstrand Ave
 Brooklyn, NY 11205
 E&S Maintenance                                                                                                                                                              $720.00
 P. O. Box 190917
 Brooklyn, NY 11219
 Home Depot                                                                                                                                                                 $2,875.69
 Supplies
 230 Nostrand
 Avenue
 Brooklyn, NY 11205
 National Grid                                                                                                                                                                $810.48
 PO Box 11741
 Newark, NJ
 07101-9839
 NYC Dept. of                                                                           Unliquidated                                                                        $3,091.00
 Finance
 P.O. Box 680
 Newark, NJ
 07101-0680


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Eighteen Homes LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Park Slope                                                                                                                                                                     $24.81
 601 5th Ave
 Brooklyn, NY 11215
 Perfect Pest                                                                                                                                                                   $81.66
 199 Lee Avenue
 #631
 Brooklyn, NY 11211
 Sign Up                                                                                                                                                                      $185.09
 539 Park Avenue
 Brooklyn, NY 11205
 Waterfront Property                                                                                                                                                          $200.00
 Management
 116 Nostrand
 Avenue
 Brooklyn, NY 11205
 Waterfront Property                                                                                                                                                        $3,300.49
 Management
 116 Nostrand
 Avenue
 Brooklyn, NY 11205




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Eighteen Homes LLC                                                                             Case No.
                                                                                   Debtor(s)               Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Vice President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       May 20, 2019                                               /s/ David Goldwasser, authorized signatory of GC Realty Advisors
                                                                        David Goldwasser, authorized signatory of GC Realty Advisors/
                                                                        Vice President
                                                                        Signer/Title




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                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           106 Kingston LLC



                           1125-1133 Greene Ave LLC
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                       119 Rogers LLC



                       1213 Jefferson LLC



                       1213 Jefferson LLC



                       127 Rogers LLC



                       167 Hart LLC



                       325 Franklin LLC



                       53 Stanhope LLC



                       55 Stanhope LLC



                       618 Lafayette LLC



                       834 Metropolitan Avenue LLC



                       92 South 4th St LLC



                       Abrams Fensterman LLP
                       1 Metrotech Center
                       Suite 1701
                       Brooklyn, NY 11201


                       APC Holding 1 LLC
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                       B&S Enterprise
                       715 Myrtle Ave
                       Brooklyn, NY 11205


                       Best Super cleaning
                       5222 New Utrecht Avenu
                       Brooklyn, NY 11219


                       Brooklyn lender LLC
                       370 Lexington Ave
                       Suite 1812
                       New York, NY 10017


                       C & YSW, LLC



                       Con   Edison
                       Jaf   Station
                       POB   1702
                       New   York, NY 10116


                       CS Construction LLC
                       116 Norstrand Ave
                       Brooklyn, NY 11205


                       D & W Real Estate Spring LLC



                       E&S Maintenance
                       P. O. Box 190917
                       Brooklyn, NY 11219


                       GIilbert Pires Scott Nick Blackburn
                       263 18th street
                       REAR
                       Brooklyn, NY 11215


                       Home Depot Supplies
                       230 Nostrand Avenue
                       Brooklyn, NY 11205


                       Karelisa Kimmel
                       263 18th street
                       Brooklyn, NY 11215
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                       Kriss & Feuerstein LLP
                       360 Lexington Ave
                       New York, NY 10017


                       Meserole and Lorimer LLC



                       National Grid
                       PO Box 11741
                       Newark, NJ 07101-9839


                       Natzliach LLC



                       NYC Dept. of Finance
                       P.O. Box 680
                       Newark, NJ 07101-0680


                       NYC Water Board
                       PO Box 11863
                       Newark, NJ 07101-8163


                       Park Slope
                       601 5th Ave
                       Brooklyn, NY 11215


                       Perfect Pest
                       199 Lee Avenue #631
                       Brooklyn, NY 11211


                       Sarah Jacobs Alen Hoffman
                       263 18th street
                       2
                       Brooklyn, NY 11215


                       Sean Kershaw
                       263 18th street
                       BSMNT
                       Brooklyn, NY 11215


                       Sidley Austin LLP
                       787 7th Ave
                       New York, NY 10019
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                       Sign Up
                       539 Park Avenue
                       Brooklyn, NY 11205


                       Theresa & Jose Negret
                       263 18th street
                       1
                       Brooklyn, NY 11215


                       Waterfront Property Management
                       116 Nostrand Avenue
                       Brooklyn, NY 11205
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Eighteen Homes LLC                                                                            Case No.
                                                                                   Debtor(s)              Chapter      11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Eighteen Homes LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 20, 2019                                                         /s/ Mark Frankel
 Date                                                                 Mark Frankel
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Eighteen Homes LLC
                                                                      Backenroth Frankel & Krinsky, LLP
                                                                      800 Thrid Avenue
                                                                      New York, NY 10022
                                                                      (212) 593-1100 Fax:(212) 644-0544




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